  Case: 1:18-cv-00326-MWM Doc #: 91 Filed: 08/18/22 Page: 1 of 4 PAGEID #: 2680




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION (CINCINNATI)

                                                 )
JEFFREY MCGINNES, et al.,                        ) Case No.: 1:18-cv-00326
                                                 )
                              Plaintiffs,        )
                                                 ) District Judge Matthew W. McFarland
       vs.                                       ) Magistrate Judge Karen L. Litkovitz
                                                 )
FIRSTGROUP AMERICA, INC., et al.,                )
                                                 )
Defendants.                                      )

                        MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Jennifer O. Mitchell, trial attorney for

FirstGroup America, Inc. (“FirstGroup”), in the above-referenced action, hereby moves the court

to admit DeMario M. Carswell, pro hac vice to appear and participate as counsel in this case for

FirstGroup.

       Movant represents that DeMario M. Carswell is a member in good standing of the highest

court of the District of Columbia as attested by the accompanying certificate from that court and

that DeMario M. Carswell is not eligible to become a member of the permanent bar of this Court.

This Motion is accompanied by the required $200.00 fee.

       DeMario M. Carswell understands that, unless expressly excused, he must register for

electronic filing with this court promptly upon the granting of this Motion. His relevant

identifying information is as follows:

Business Telephone: (202) 346-4000
Business Fax:       (202) 346-4444
Business Address: Goodwin Procter LLP
                    1900 N Street, N.W.
                    Washington, D.C. 20036
Business E-mail Address: DCarswell@goodwinlaw.com




Error! Unknown document property name.
  Case: 1:18-cv-00326-MWM Doc #: 91 Filed: 08/18/22 Page: 2 of 4 PAGEID #: 2681




                                                         Respectfully submitted,

                                                         /s/ Jennifer O. Mitchell
                                                         Jennifer O. Mitchell (0069594)
                                                         Dinsmore & Shohl LLP
                                                         255 East Fifth Street
                                                         Suite 1900
                                                         Cincinnati, OH 45202
                                                         Telephone: (513) 977-8364
                                                         jennifer.mitchell@dinsmore.com

                                                         Trial Attorney for FirstGroup
                                                         America, Inc.


                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on August 18, 2022, a copy of the

foregoing was electronically filed with the U.S. District Court, Southern District of Ohio. Notice

of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s

electronic system.


                                                      /s/ Jennifer O. Mitchell




Error! Unknown document property name.
Case: 1:18-cv-00326-MWM Doc #: 91 Filed: 08/18/22 Page: 3 of 4 PAGEID #: 2682




  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



           DeMario Marcus Carswell
         was duly qualified and admitted on June 25, 2020 as an attorney and counselor entitled to
                    practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                         Washington, D.C., on March
                                                                                   29, 2022.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
  Case: 1:18-cv-00326-MWM Doc #: 91 Filed: 08/18/22 Page: 4 of 4 PAGEID #: 2683




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION (CINCINNATI)


JEFFREY MCGINNES, et al.,                           :   Case No. 1:18-cv-00326
                                                    :
                                Plaintiffs,         :   District Judge Matthew W. McFarland
                                                    :   Magistrate Judge Karen L. Litkovitz
         vs.                                        :
                                                    :   ORDER GRANTING MOTION FOR
FIRSTGROUP AMERICA, INC., et al.,                   :   LEAVE TO APPEAR PRO HAC VICE
                                                    :
                                Defendants.         :
                                                    :
                                                    :
                                                    :


         Before the Court is the Motion for Leave to Appear Pro Hac Vice of DeMario M. Carswell

by Defendant FirstGroup America, Inc.

         Mr. Carswell is an attorney in good standing and consents to the jurisdiction and rules of this

district governing professional conduct. Having satisfied the requirements of S.D. Ohio Civ. R. 83.3

for admission Pro Hac Vice, his Motion for Leave to Appear Pro Hac Vice in this matter is hereby

GRANTED, and he is hereby admitted to practice as co-counsel on behalf of Defendant.


         IT IS SO ORDERED.


Dated:          _________________________                       ______________________________
                                                                Timothy S. Black
                                                                United States District Judge
